
PER CURIAM:
This claim was submitted for a decision based upon the allegations in the Notice of Claim and the respondent’s Answer.
The claimant seeks payment of $73.35;for. serving a summons on behalf of the respondent. In support of its claim, the claimant submitted an invoice for the service with its Notice of Claim. In its Answer, the respondent admits the validity of the claim in the amount of $69.20, and states that there were sufficient funds expired in the appropriate fiscal year with which this amount could have been paid. The difference between the amount claimed and the amount admitted represents sales tax which should not have been added to the cost of the service. Subsequently, the claimant contacted the Court and indicated it would accept $69.20 as satisfaction for the claim. *131In view of the foregoing, the Court makes an award to the claimant in the amount of $69.20.
Award of $69.20.
